Case 2:04-cr-20312-.]PI\/| Document 50 Filed 07/22/05 Page 10f3 Page|D§B

FlLED BY _____ D_c'
IN THE UNITED sTATEe DISTRICT coURT
FoR THE wEeTERN DISTRICT oF TENNESSEE OSJUL 22 PH 1253
wESTERN DIvISIoN

 

UNITED STATES OF AMERI CA

Plaintiff,

12_
Criminal No.ér?:z[_-/dez Ml

(60-Day Continuance)

pig/mv § RUFF~\(

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Seotember 23, 2005, with trial to take place
on the October, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in

open court at report date this 22nd day of July, 2005.

Thle document entered on the docket sheet in compliance

with eula 55 and/or az(b) FHch on Z 36 06

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so 0RDERED this 22nd day of July, 2005.

Q»@.WCLQQ

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

“///WCY-s /°P€’v'~/

Assist#nt United States Attorney

l…/\/~

 

 

 

 

Counsel for Defendant(s)

 
 

uNlTED sTATE DISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

   

thice cf Distribution

This notice confirms a copy cf the document docketed as number 50 in
case 2:04-CR-203 12 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

